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 8                            UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10

11    UNITED STATES OF AMERICA,                                 CASE NO. 13CR2479-BTM
12                                          Plaintiff,          JUDGMENT AND ORDER OF
             vs.                                                DISMISSAL OF INFORMATION
13
      ALEXANDRA DOMINIQUE CRESPIN (1),
14

15                                        Defendant.

16
            Upon motion of the UNITED STATES OF AMERICA and good cause appearing, the
17
     Information in the above entitled case is dismissed with prejudice, the bond is exonerated and. ifheld
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19   by the U.S. Pretrial Services, Defendant's passport is to be released to Defendant.
            IT IS SO ORDERED.
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            Dated:   r,,1ltr/P/'
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